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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF NEW YORK

                                   Hon. Marcia M. Henry
                               United States Magistrate Judge


                           CRIMINAL CAUSE FOR PLEADING
                                                                DATE: ____________________
                                                                      06/17/2024
__________________
USA v. Singh et al.,    Docket No: ______________
                                   23-CR-236-1 Time: _______
                                                     2:18PM- In Court: _______
                                                                       45 mins
                                                             2:55PM
                                                          FTR Log #: _________________
                                                                     N/A
Defendant: _______________________________
           Sagar Steven Singh
        ✔ Present
       ___                                      ✔
                     ___Not Present ___Custody ___Bail
Defense Counsel: _______________________________
                  Jeremy L. Gutman
        ✔ Present
       ___                                                           ✔
                     ___Not Present ___Federal Defenders of New York ___CJA ___ Retained
AUSA: ___________________________
      Ellen Sise                                   Deputy: ______________________
                                                           S. Yu
Court Reporter: _____________________
                Stacy A. Mace         Interpreter: _____
                                                   N/A Language: _________________
                                                                 N/A
___Case
 ✔        Called
___Defendant’s First Appearance
___Defendant:
 ✔              ___Sworn
                 ✔        ___Arraigned ____Informed
                                            ✔           of Rights
___Waiver of Indictment Executed for Defendant
___Superseding Indictment/Information Filed
___Bench warrant Issued: ____________
___Defendant
 ✔             Withdraws Not Guilty Plea and Enters a Plea of Guilty to Count ____
                                                                              1&2
of the Indictment/Superseding Indictment/ Information.
___Defendant Enters a Plea of Guilty to count(s)_______________ of ______the Information.
___Court
 ✔         Finds Factual Basis for the Plea
___Sentencing will be set by the Probation Office.
___The Probation Office is directed to prepare and file the PSR by_______ on ______________
___Sentencing is scheduled for ________________at ______________.
___Bail/Bond:
 ✔              _____ Set______
                             ✔     Continued for Defendant ________ Continued in Custody
___Case Adjourned to ___/___/_____
___Court accepts the Plea of Guilty.
___Transcript
 ✔             Ordered

Text: The Court admitted into evidence the plea agreement (Court’s exhibit one)

Presentence Report shall be prepared and filed by ________________
Defendant's response is due ________________ The Government's response is due _____________
